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EXHIBIT 1
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

DAVID M. HICKS,
Petitioner,
-against- Civ. Act. No. 1:02-cv-00299-CKK

GEORGE W. BUSH, et al.,

Respondents.

Swen Nome” New” “weer” Neue name Set me “mee” See et” nee”

AFFIDAVIT OF MAJOR MICHAEL D. MORI

1. I am Major Michael Dante Mori. The following is true and correct to the best of
my knowledge. I have personal knowledge of matters stated herein and, if called upon to
testify, could competently testify thereto.

2. I am presently on active duty with the United States Marine Corps. Since
September 1, 2003, I have been serving in the Office of the Chief Defense counsel for
Military Commissions.

3. On February 8, 2002, Mr. Stephen Kenny, an Australian attorney, wrote to
President Bush seeking legal counsel access to Mr. Hicks. A true and correct copy of Mr.
Kenny’s February 8, 2002 letter is attached hereto as Exhibit A.

4, On June 4, 2003, Mr. Stephen Kenny wrote to the U.S. Ambassador to Australia,
Mr. Tom Scheiffer, expressing concern that Mr. Hicks has been held for 18 months with
out being charged. A true and correct copy of Mr. Kenney’s June 4, 2003 letter is
attached hereto as Exhibit B.

5. On July 8, 2003, The Chief Prosecutor (Acting) for the Office of Military
Commission sent a target letter to the Chief Defense Counsel (Acting) for the Office of
the Military Commission seeking assignment of counsel to Mr. David Hicks. A true and
correct copy of the Chief Prosecutor’s July 8, 2003 letter is attached hereto C.

6. In the first part of July 2003, I was contacted by the Chief Defense Counsel and
asked to come to the Pentagon to be assigned to represent Mr. Hicks. I traveled from
Oahu, Hawaii, where I was stationed at the time, to the Office of the Chief Defense
Counsel for Military Commissions located in the Pentagon.

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7. On July 14, 2003, the Chief Defense Counsel was prepared to detail me to
represent Mr. Hicks. I was told that an Australian delegation was going to arrive soon to
discuss the use of military commissions for its citizens. I arrived at the office at
approximately 8:00 a.m. and was told by the Chief Defense Counsel that he was going to
sign the detailing letter in 30 minutes. A true and correct copy of the July 14, 2003
Detailing Letter of Major Mori to Mr. Hicks is attached hereto as Exhibit D. Within 20
minutes, the General Counsel’s office for the Secretary of Defense contacted the Chief
Defense Counsel and stopped the detailing of counsel to Mr. Hicks.

8. On July 23, 2003, the Department Of Defense (the “DOD”) issued a press release
entitled, “DOD Statement on Australian Detainee Meetings.” (See
www.defenselink.mil/releases/2003/nr20030723-0220.html).

9, On November 25, 2003, the DOD issued a press release entitled, “U.S. and
Australia Announce Agreements on Guantanamo Detainees” (See
www.defenselink.mil/releases/2003/nr20031125-0702.html ).

10. On November 28, 2003, I was detailed to represent Mr. Hicks. A true and correct
copy of the November 28, 2003 Detailing Letter of Major Mori to Mr. Hicks is attached
hereto as Exhibit E.

11. On July 9, 2003, Mr. Hicks was transferred to pre-commission confinement at
Camp Echo. After his transfer, prior to being detailed counsel, interrogations of Mr.
Hicks continued.

12. As of August 2, 2004, 156 detainees have been transferred out of Guantanamo
Bay. Information the government used im determining that Mr. Hicks should be charged
before a military commission was provided by one of the released detainees.

13. Currently, an initial session of the military commission set to try Mr. Hicks is
scheduled for August 25, 2004. It is anticipated the assembly of the commission, voir
dire of the commission members and scheduling will occur on this date.

FURTHER AFFIANT SAYETH NOT.

I declare under penalty of perjury that the foregoing is true and correct. Executed
on August 20, 2004.

Major Michael Dante Mori
U.S. Marine Corps

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EXHIBIT A

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Our Ref: 120542/SkK
Please reply to Adelaide office

8 February 2002 CAMATTA
Pp oT Y t oT oD
ABN 34 008 146 332
BARRISTERS AND SOLICITORS
Mr George W Bush FRANCS CAMATTA LLB (Hone)
The President ROBERT LEMBENE Ute Dip coro
United States of America STEPHEN J. KENNY LLB
The White House SaAE ERnt-swyTH Lue GoLP
1600 Pennsylvania Avenue NW ANDREW BARBER LLB BS (Jur)

Washington, DC 20500 First Ftoor,

U Ss A 345 King William Sirest
Adelaide $A. 5000
Telephone: (08) 8410 0251
Facalmile: (08) 8410 0566
391 Torrens Road
Kitkenny, S.A, 5009
Telephone: (08) 6288 9266
Facsimite: (08) 6268 2142

OX 338 Adelaide

Dear Sir

Detention of Australian Citizen David Matthew Hicks

We refer to our letter of 25 February 2002.

We confirm that we act for Terry Hicks and have been requested by our client to act
for and on behaif of his son David Hicks. As you are aware David is currently being
de d, apparently under your authority, at Guantanamo Bay in Cuba.

t in this morning’s press, there were reports that members of the Taliban
Prisoner of War status.

el to David Hicks?

eeive one short note from his son via

2eak to his son and we would be

David and his father. Mr Hicks

Son and we would be grateful if you
‘a Visit.

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In the meantime, we enquire whether Mr Terry Hicks may speak to his son on the
telephone.

Mr Hicks is extremely concerned about his son’s mental welfare and particularly
notes the press reports as to his son’s agitation in Cuba. Mr Hicks is of the opinion
that if he were able to speak to his son, he may be able to reassure his son of the
support of his family and he believes that this will assist in easing David’s anxiety and
lessen the risk of any potential incident involving David.

We advise that Mr Terry Hicks has no involvement with al Quaeda or any associated
organisation and does not in any way support those organisations.

As you will appreciate, this is a matter great concern to the Hicks family and a prompt
response would be appreciated.

We thank you in anticipation.

Yours faithfully
CAMATTA LEMPENS PTY LTD

ce. Mr Donald Rumsfeld, Secretary of Defence
Mr John Ashcroft, Attorney General of the United States
The Hon. Daryl Williams AM QC MP, Attorney General of Australia

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EXHIBIT B

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Our Ref: 140542/SK/al (C (OC) | >

4 June 2003

Mr Tom Scheiffer

US Ambassador to Australia
MLC Centre

Level 59

19/29 Martin Place
SYDNEY NSW 2000

Dear Sir

DAVID HICKS

As you are no doubt aware we act for David Hicks who is currently being imprisoned
by the American Military at Guantanamo Bay, Cuba.

We note that on 3 May 2003 it was reported in the Daily Telegraph in Sydney that
you believed that lawyers would soon be granted access to Mr Hicks.

You are quoted as saying that access would be granted “in fairly short order’.

Unfortunately to date Mr Hicks has not been granted access to a lawyer despite his
clear request to Australian and American Officials and our own request.

We now write to you, to request your advice as to when we would be entitled to
speak to Mr Hicks.

Further we request that you advise whether or not the Australian Government have
made any request for diplomatic access to Mr Hicks and if they have, could you
please advise the response that you have made.

As you are no doubt aware, Mr Hicks has now been detained in a cage in
Guantanamo Bay in excess of 18 months in which time no charge has been laid
against him.

Could you please advise when he is likely to face any charge and if so what charge.

We await your reply.

Yours faithfully
CAMATTA LEMPENS PTY LTD

STEPHEN KENNY

kenny@camattalempens.com.au

ce: Mr Terry Hicks

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EXHIBIT C

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DEPARTMENT OF DEFENSE
OFFICE OF GENERAL COUNSEL
1600 DEFENSE PENTAGON
WASHINGTON, DC 20301-1600

July 8, 2003
MEMORANDUM FOR ACTING CHIEF DEFENSE COUNSEL
SUBJECT: Target Letter re Military Commission Investigation of Mr. David Hicks

On July 3, 2003, the President determined that Mr. David Hicks is subject to the Military
Order of November 13, 2001. As a result, pursuant to Section 4(a) of the President’s
Military Order, Mr, Hicks “shall, when tried, be tried by military commission for any and
all offenses triable by military commission that [he] is alleged to have committed, and
may be punished in accordance with the penalties provided under applicable law,
including life imprisonment or death.”

The Office of the Chief Prosecutor is considering whether to prepare charges against Mr. —
Hicks and present them to the Appointing Authority for approval and referral in
accordance with Section 4(B)(2) of Military Commission Order No. 1, dated March 21,
2002. The charges currently under consideration include, but are not limited to:

attacking civilians and civilian objects; terrorism and murder by an unprivileged
belligerent; aiding the enemy; and conspiracy to commit the above mentioned offenses,
Theories of liability in proving these offenses may include conspirator liability for the
substantive offense, liability based upon being a member of an enterprise of persons who
shared a common criminal purpose, aider and abettor liability, or some combination
thereof.

Under my interpretation of Section 3(B)(8) of Military Commission Instruction No. 4,
you are authorized to detail a military defense counsel to advise Mr. Hicks on how he
might engage in pretrial discussions with a view toward resolving the allegations against
him. My office will make the arrangements with the Commander, Joint Task Force
Guantanamo, for such detailed military defense counsel to have access to Mr. Hicks.
Such access shall continue so long as we are engaged in pretrial negotiations. Please
advise me as soon as possible what arrangements, if any, you desire to facilitate this
representation.

Attachment | to this memorandum is provided: }) to assist Mr. Hicks’ detailed defense
counsel in evaluating the potential charges against him; and 2) to advise Mr. Hicks
regarding his options.

The final decisions regarding charges against Mr. Hicks and the terms of any plea
agreement that might be entered are within the sole discretion of the Appointing
Authority. Nothing in this memorandum, or in any subsequent discussions between the
Office of the Chief Prosecutor and the defense counsel detailed to represent Mr. Hicks

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pursuant to this memorandum, shouid be considered as binding on the Appointing
Authority.

Please advise the Office of the Chief Prosecutor no later than 30 July 2003 whether or not
Mr. Hicks is interested in discussing a plea agreement.

Major Kurt Brubaker is my point of contact for matters related to this memorandum.

Disclosure or other public release of the contents of this memorandum is prohibited by

Military Commission Instruction No. 4, Section 3(B)(4) and Military Commission
Instruction No. 5, Annex B, Section II(E)(1).

Frederic L. Borch

Colonel, U.S. Army

Chief Prosecutor (Acting)
Office of Military Commissions

Attachments:
1. David Hicks sworn statement, dated 21 March 2003

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EXHIBIT D

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14 July 2003

MEMORANDUM DETAILING DEFENSE COUNSEL

TO: Major Michael D. Mori, USMC, XXX-XX-XXXX
SUBJECT: Detailing Letter re Mr. David Hicks Military
Commission Proceedings

Pursuant to the authority granted to me by my appointment as Acting Chief Defense Counsel and
Sections 4C and 5D of Military Order No. 1, dated March 21, 2002, you are hereby detailed as
Military Counsel for all matters relating to Military Commission proceedings involving Mr.
David Hicks. Your appointment exists until such time any findings and sentence become final as
defined in Section 6(H)(2) unless you are removed from representing Mr. Hicks by me or my
successor. I deem your detailing to be appropriate based on the government’s assertion in
enclosure (1) that on July 3, 2003, the President determined that Mr. Hicks is subject to the
Military Order of November 13, 2001 and as such “shall when tried, be tried by military
commission for any and all offenses triable by military commission that [he] is alleged to have
committed, and may be punished in accordance with the penalties provided under applicable law,
including life imprisonment or death.”

In your representation of Mr. Hicks, you are directed to review and comply with Presidential
Military Order of November 13, 2001, “Detention, Treatment, and Trial of Certain Non-Citizens
in the War Against Terrorism,” (66 FR 57833); Military Commission Orders No. | and 2 and
Military Commission Instructions 1 through 7 and all Supplementary Regulations and
Instructions issued in accordance therewith. Specifically you are directed to ensure that your
conduct and activities are consistent with the prescriptions and proscriptions specified in Section
Il of the Affidavit And Agreement By Civilian Defense Counsel at Appendix B to Military
Instruction No. 5.

You are directed to inform Mr. Hicks of his rights before a Military Commission. In informing
Mr. Hicks of his rights you should advise him that communications between yourself and Mr.
Hicks are not protected under the Attorney-Client Privilege and may be subject to monitoring
without notice. In the event that Mr. Hicks chooses to exercise his rights to Selected Military
Counsel or his right to Civilian Defense Counsel at his own expense, you shall inform me as
soon as possible.

In the event that you become aware of a conflict of interest arising from the representation of Mr.
Hicks before a Military Commission you shall immediately inform me of the nature and facts
concerning such conflict. You should be aware that in addition to your State Bar and Service
Rules of Professional Conduct that by virtue of your appointment to the Office of Military
Commissions you will be attached to the Defense Legal Services Agency and will be subject to
professional supervision by Department of Defense General Counsel.

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You are directed to directed to inform me of all requirements for personnel, office space,
equipment, and supplies necessary for preparation of the defense of Mr. Hicks.

Colonel Will A. Gunn, USAF
Chief Defense Counsel (Acting)
Office of Military Commissions

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EXHIBIT E

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DEPARTMENT OF DEFENSE

OFFICE OF GENERAL COUNSEL
1600 DEFENSE PENTAGON
WASHINGTON, DC 20301-1600

x
28 November 2003 <=

MEMORANDUM DETAILING DEFENSE COUNSEL

TO: Major Michael D. Mori, USMC
SUBJECT: Detailing Letter re Military Commission Proceedings of Mr. David Hicks

Pursuant to the authority granted to me by my appointment as Acting Chief Defense Counsel and
Sections 4C and 5D of Military Order No. 1, dated March 21, 2002, you are hereby detailed as
Military Counsel for all matters relating to Military Commission proceedings involving Mr.
David Hicks. Your appointment exists until such time any findings and sentence become final as
defined in Section 6(H)(2) unless you are excused from representing Mr. Hicks by me or my
successor. I deem your detailing to be appropriate based on the government’s assertion in
enclosure (1) that on July 3, 2003, the President determined that Mr. Hicks is subject to the
Military Order of November 13, 2001 and as such “shall when tried, be tried by military
commission for any and all offenses triable by military commission that [he] is alleged to have

committed, and may be punished in accordance with the penalties provided under applicable law,
including life imprisonment or death.”

In your representation of Mr. Hicks, you are directed to review and comply with Presidential
Military Order of November 13, 2001, “Detention, Treatment, and Trial of Certain Non-Citizens
in the War Against Terrorism,” (66 FR 57833); Military Commission Orders No. 1 and 2 and
Military Commission Instructions | through 8 and all Supplementary Regulations and
Instructions issued in accordance therewith. Specifically, you are directed to ensure that your
conduct and activities are consistent with the prescriptions and proscriptions specified in Section

Il of the Affidavit And Agreement By Civilian Defense Counsel at Appendix B to Military
Instruction No. 5.

You are directed to inform Mr. Hicks of his rights before a Military Commission. In the event
that Mr. Hicks chooses to exercise his rights to Selected Military Counsel or his right to Civilian
Defense Counsel at his own expense, you shall inform me as soon as possible. Consistent with
paragraph 3B(8) of Military Instruction No. 4, | am detailing Master Sergeant Susan LaHoste as
a member of the defense team to assist you in representing Mr. Hicks.

In the event that you become aware of a conflict of interest arising from the representation of Mr.
Hicks before a Military Commission, you shall immediately inform me of the nature and facts
concerning such conflict. You should be aware that in addition to your State Bar and Service
Rules of Professional Conduct that by virtue of your appointment to the Office of Military
Commissions you will be attached to the Defense Legal Services Agency and will be subject to
professional supervision by Department of Defense General Counsel.

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You are directed to inform me of all requirements for personnel, office space, equipment, and
supplies necessary for preparation of the defense of Mr. Hicks.

Yip A Arn

Colonel Will A. Gunn, USAF
Chief Defense Counsel (Acting)
Office of Military Commissions

Enclosure:
Target Letter re Mr. David Hicks dated November 28, 2003

cc:

MSgt LaHoste

Lt Col Brubaker

Col Borch

General Hemingway
Mr. Koffsky

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